          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 1 of 30




                       UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF PENNSYLVANIA


DOUGLAS S. CHABOT, et al.,               )   Civ. Action No. 1:18-cv-02118-CCC-
Individually and on Behalf of All Others )   KM
Similarly Situated,                      )
                                         )   CLASS ACTION
                         Plaintiffs,     )
                                         )   PLAINTIFFS’ BRIEF IN
      vs.                                    OPPOSITION TO DEFENDANTS’
                                         )
                                             MOTION TO STRIKE
WALGREENS BOOTS ALLIANCE, )
INC., et al.,                            )
                                         )
                         Defendants. )
                                         )




                              REDACTED VERSION




4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 2 of 30



                                         TABLE OF CONTENTS

                                                                                                                     Page
I.       INTRODUCTION ...........................................................................................1

II.      PROCEDURAL HISTORY AND STATEMENT OF RELEVANT
         FACTS .............................................................................................................2

III.     WALGREENS DOES NOT SHOW PREJUDICE UNDER THE
         APPLICABLE LEGAL STANDARD ............................................................ 4

IV.      PLAINTIFFS’ RULE 56.1 RESPONSE IS PROPER .................................... 5

         A.       Walgreens’ State of Mind Facts: Plaintiffs Properly Responded
                  with Contradicting Contemporaneous Evidence................................... 6

                  1.        Summary of Walgreens’ State of Mind Facts and
                            Plaintiffs’ Responses ................................................................... 6

                  2.        The Third Circuit’s Ruling in Infinity Group Supports
                            Plaintiffs’ Responses ................................................................... 9

                  3.        Evaluating a Purported State of Mind Requires
                            Evaluating Contemporaneous Documents ................................11

                  4.        Assessing Witness Credibility Requires Resorting to
                            Contemporaneous Documents ..................................................11

                  5.        This Court Has Ruled that Contemporaneous Documents
                            Are Relevant to State of Mind ..................................................12

                  6.        Additional Authority in Securities Cases Further
                            Supports Plaintiffs’ Responses .................................................13

                  7.        Non-Movants Are Permitted to Dispute “Outcome
                            Determinative” Facts ................................................................14

         B.       Walgreens’ Facts with Credibility Problems: Plaintiffs
                  Properly Responded With Evidence ...................................................14


                                                           -i-
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 3 of 30




                                                                                                              Page


         C.      Walgreens’ “Warning” Facts: Plaintiffs Properly Provided
                 Crucial Context....................................................................................17

         D.      Walgreens’ Facts About the Statements at Issue and Loss
                 Causation: Plaintiffs Properly Provided Important Detail .................18

         E.      Walgreens’ Facts Submitted in Violation of the Court’s Order:
                 Plaintiffs Properly Objected ................................................................18

         F.      Walgreens’ Facts Referenced in a Footnote of the MTS:
                 Plaintiffs Properly Responded.............................................................19

V.       THE COURT MAY CONSIDER PLAINTIFFS’ ADDITIONAL
         STATEMENT OF FACTS ............................................................................19

VI.      THE COURT SHOULD NOT PROVIDE WALGREENS WITH
         ANOTHER SUR-REPLY .............................................................................21

VII. CONCLUSION..............................................................................................21




                                                       - ii -
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 4 of 30



                                   TABLE OF AUTHORITIES

                                                                                                         Page

CASES
Alcantara v. Aerotek, Inc.,
   2018 WL 3007528 (M.D. Pa. June 15, 2018),
   aff’d, 765 F. App’x 692 (3d Cir. 2019)................................................................. 6

Barnes v. Commonwealth Dep’t of Corr.,
  706 F. Supp. 2d 593 (M.D. Pa. 2010) ................................................................... 4

Berckeley Inv. Grp., Ltd. v. Colkitt,
   455 F.3d 195 (3d Cir. 2006) ...............................................................................11
Berry v. Kabacinski,
   2016 WL 3683158 (M.D. Pa. July 12, 2016),
   subsequently aff’d, 704 Fed. App’x 71 (3d Cir. 2017) ......................................... 4

Butters v. SWN Prod. Co., LLC,
   2020 WL 1503657 (M.D. Pa. Mar. 30, 2020) ....................................................11

Chabot v. Walgreens Boots All., Inc.,
  2021 WL 767516 (M.D. Pa. Feb. 26, 2021) .................................................12, 13

Diamond Triumph Auto Glass, Inc. v. Safelite Glass Corp.,
   441 F. Supp. 2d 695 (M.D. Pa. 2006) ................................................................... 5
Doeblers’ Pa. Hybrids, Inc. v. Doebler,
  442 F.3d 812 (3d Cir. 2006) ...............................................................................21

Dolan v. Cmty. Med. Ctr. Healthcare Sys.,
  2008 WL 11499207 (M.D. Pa. Dec. 29, 2008) ..................................................20

El v. SEPTA,
   479 F.3d 232 (3d Cir. 2007) .........................................................................11, 15

Fischer v. Pennsylvania State Police,
   2009 WL 650251 (M.D. Pa. Mar. 10, 2009) ................................................18, 19

Glodek v. Jersey Shore State Bank,
   2009 WL 2778286 (M.D. Pa. Aug. 28, 2009) ............................................4, 5, 18
                                                    - iii -
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 5 of 30




                                                                                                          Page


In re Energy Future Holdings Corp.,
    990 F.3d 728 (3d Cir. 2021) ...............................................................................14

In re Innocoll Holdings Pub. Ltd. Co. Sec. Litig.,
    2020 WL 1479128 (E.D. Pa. Mar. 25, 2020) .....................................................17

Justofin v. Metro. Life Ins. Co.,
   372 F.3d 517 (3d Cir. 2004) ...............................................................................11

Karpf v. Mass. Mut. Life Ins. Co.,
  2018 WL 1142189 (E.D. Pa. Mar. 1, 2018) .......................................................12

Matson-Forester v. Allstate Ins. Co.,
  2014 WL 580267 (M.D. Pa. Feb. 12, 2014) ......................................................... 4
McLean v. Alexander,
  599 F.2d 1190 (3d Cir. 1979) .............................................................................10
Muldowney v. K-Mart Corp.,
  2013 WL 6061563 (M.D. Pa. Nov. 18, 2013) ..............................................11, 15
NTP Marble, Inc. v. AAA Hellenic Marble, Inc.,
  2012 WL 607975 (E.D. Pa. Feb. 27, 2012) ........................................................15
Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension
  Fund,
  575 U.S. 175 (2015) ......................................................................................13, 14
Park v. Veasie,
  2011 WL 1831708 (M.D. Pa. May 11, 2011)....................................................... 5

Pearlstein v. BlackBerry Ltd.,
  2022 WL 19792 (S.D.N.Y. Jan. 3, 2022) ....................................................passim
Reid v. Sleepy’s, LLC,
   2016 WL 3345521 (M.D. Pa. June 16, 2016).........................................1, 4, 5, 22


                                                     - iv -
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 6 of 30




                                                                                                                    Page


SEB Inv. Mgmt. AB v. Endo Int’l, PLC,
  351 F. Supp. 3d 874 (E.D. Pa. 2018) ..................................................................10

SEC v. Berrettini,
  2012 WL 5557993 (N.D. Ill. Nov. 15, 2012) .....................................................13

SEC v. Infinity Group Co.,
  212 F.3d 180 (3d Cir. 2000) .......................................................................2, 9, 10

Shenwick v. Twitter, Inc.,
   282 F. Supp. 3d 1115 (N.D. Cal. 2017) ..............................................................18

United States v. Cook,
  2018 WL 6499872 (D. Del. Dec. 11, 2018),
  aff’d, 820 F. App’x 110 (3d Cir. 2020)...............................................................16
Universal Underwriters Ins. Co. v. Dedicated Logistics, Inc.,
  2014 WL 12600172 (W.D. Pa. June 4, 2014) ....................................................15



STATUTES, RULES AND REGULATIONS
15 U.S.C.
   §78(b) ..........................................................................................................1, 9, 13

17 C.F.R.
   §240.10b-5 ............................................................................................................1



SECONDARY AUTHORITIES
11 Moore’s Federal Practice – Civil
   §56.91 (2022) ........................................................................................................4




                                                          -v-
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 7 of 30




                          INDEX OF DEFINED TERMS

Class Period                 Between October 20, 2016 and June 28, 2017,
                             inclusive
Defendants                   Walgreens Boots Alliance, Inc., Stefano Pessina and
                             George R. Fairweather collectively

Exchange Act                 Securities Exchange Act of 1934

Fairweather                  George R. Fairweather

FTC                          Federal Trade Commission

Merger                       The merger between Rite Aid and Walgreens jointly
                             announced on October 27, 2015, and as amended in
                             late January 2016

P56.1 Opp.                   Plaintiffs’ Responses to Defendants’ Statement of
                             Undisputed Material Facts (ECF No. 242-2)

Pessina                      Stefano Pessina

Plaintiffs                   Lead Plaintiffs Douglas S. Chabot and Corey M.
                             Dayton

Rite Aid or RAD              Rite Aid Corporation

Rule 10b-5                   SEC Rule 10b-5, codified at 17 C.F.R. §240.10b-5
                             and promulgated under the Exchange Act

Walgreens                    Walgreens Boots Alliance, Inc., also utilized in the
                             accompanying brief as a collective reference to
                             Defendants

Weil                         Weil, Gotshal & Manges LLP

§10(b)                       §10(b) of the Securities Exchange Act of 1934

§20(a)                       §20(a) of the Securities Exchange Act of 1934

                                        - vi -
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 8 of 30




I.       INTRODUCTION
         Motions to strike Rule 56.1 material are “viewed as a drastic remedy,” and

“such motions are generally disfavored.” Reid v. Sleepy’s, LLC, 2016 WL 3345521,

at *6 (M.D. Pa. June 16, 2016) (J. Caputo). 1

         This case, brought under §10(b) of the Exchange Act and Rule 10b-5, alleges

intentionally misleading public statements by Defendants (collectively, “Walgreens”)

regarding a lengthy FTC review on a failed $17.2 billion Merger. By this motion (the

“MTS”), Walgreens asks the Court to strike Plaintiffs’ properly submitted Rule 56.1

filings, declare nearly all of Walgreens’ 228 factual assertions as undisputed, and

thereby grant Walgreens’ motion for summary judgment by default. Walgreens’

sweeping request – to erase the contemporaneous evidence undermining its defense –

is meritless.

         Just three months ago, also in a §10(b) case, the Southern District of New York

addressed a virtually identical motion to strike the plaintiffs’ 201-page Local Rule

56.1 response. See Pearlstein v. BlackBerry Ltd., 2022 WL 19792, at *7-*8

(S.D.N.Y. Jan. 3, 2022). The court ruled: “This is a silly and pointless motion, one

obviously (and desperately) made because, unless the Rule 56.1 statement is stricken,

the record is replete with disputed facts. It is denied.” Id. (parenthesis in original).

1
  Unless otherwise noted, all emphasis is added and citations and footnotes are
omitted. “P56.1 Opp.” refers to Plaintiffs’ Responses to Defendants’ Statement of
Undisputed Material Facts. ECF No. 242-2.

                                           -1-
4869-6787-7404
          Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 9 of 30




“Insofar as Defendants’ motion to strike seeks to challenge the sufficiency or

credibility of the evidence and factual assertions to which Plaintiffs cite, a trial, not a

motion to strike, is the proper vehicle for resolving those disputes.” Id. at *8.

         The same holds true here. The Third Circuit expressly mandates that, in a

securities case, when a defendant asserts a “good faith belief” defense, “we

nevertheless must examine the foundation such a belief would have rested upon. A

good faith belief is not a ‘get out of jail free card.’” SEC v. Infinity Group Co., 212

F.3d 180, 193 (3d Cir. 2000). Despite Walgreens’ vaguely asserted, undated, and

uncorroborated testimonial “facts,” Plaintiffs’ Rule 56.1 statements are clear, direct,

responsive, properly cited, adequately sourced, and contain a multitude of quotes and

hard evidence confirming multiple genuine issues of fact for trial. For the reasons

stated herein, Walgreens’ MTS should be denied.

II.      PROCEDURAL HISTORY AND STATEMENT OF
         RELEVANT FACTS
         When requesting leave to file a 22,000 word summary judgment brief,

Walgreens touted the “massive factual record,” which, according to Walgreens, “far

exceeds the discovery permitted in a typical case.” ECF No. 218, ¶¶4-10. Walgreens

described the production of 800,000 pages of documents from 21 custodians or third

parties; 3,600 pages of deposition testimony; 600 deposition exhibits; and ten expert

reports from five expert witnesses. Id.


                                           -2-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 10 of 30




         In an effort to narrow the issues for trial, Plaintiffs distilled that voluminous

record into a targeted motion for summary judgment filed on January 24, 2022, under

the 5,000 word limit. ECF Nos. 236-237. The same day, Walgreens filed a 15,000

word brief with an 85-page Rule 56.1 statement, containing 228 separate facts and 309

footnotes. ECF Nos. 231-232.

         On March 14, 2022, Plaintiffs responded to Walgreens’ “facts” under Rule

56.1, and submitted an “Additional Statement of Material Facts.” ECF Nos. 242-1,

242-2, 242-3. The same day, Walgreens filed a 148-page response to Plaintiffs’

previously filed 58-page statement of facts. ECF No. 245-1.

         Notably, Walgreens’ own Rule 56.1 response runs afoul of what Walgreens

now claims is improper. Rather than simply “admit” or “deny” facts, Walgreens

qualified, added commentary, and argued the import and legal relevance of various

facts. Id., passim.



                                          Thus, Walgreens’ own Rule 56.1 response

demonstrates that this MTS is without merit and should be denied. Id.

         Two days after receiving Plaintiffs’ opposition and supporting statements, on

March 16, 2022, Walgreens requested leave to file a 15,000 word reply brief. ECF

No. 255. When making that request, which the Court ultimately granted, Walgreens

specifically cited Plaintiffs’ Rule 56.1 statements as two of the “reasons” justifying

                                           -3-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 11 of 30




the excess words in Walgreens’ reply (the same statements Walgreens now seeks to

strike here). Id., ¶¶4-6.

III.     WALGREENS DOES NOT SHOW PREJUDICE UNDER THE
         APPLICABLE LEGAL STANDARD
         As noted, motions to strike Rule 56.1 material are “viewed as a drastic remedy,”

and “such motions are generally disfavored.” Reid, 2016 WL 3345521, at *6.2

Accord 11 Moore’s Federal Practice – Civil §56.91 (2022) (“Prior to 2010, motions

to strike were often used to object to defective supporting materials [in summary

judgment response papers]. However, this is no longer the proper procedure.”);

BlackBerry, 2022 WL 19792, at *7-*8 (same).

         As a result, “it is not the practice of this Court to strike a party’s [Rule 56.1]

SMF, either in whole or in part, or admit the opposition party’s SMF wholesale.”

Glodek v. Jersey Shore State Bank, 2009 WL 2778286, at *1 n.1 (M.D. Pa. Aug. 28,

2009) (J. McClure, Jr.). “Instead, in evaluating motions for summary judgment, we

glean what useful information we can from the parties’ SMFs and disavow improper




2
   This Court has applied that same standard on multiple occasions when denying
motions to strike Rule 56.1 statements, responses, or additional statements of facts.
See, e.g., Berry v. Kabacinski, 2016 WL 3683158, at *2 n.2 (M.D. Pa. July 12, 2016)
(MJ. Carlson), subsequently aff’d, 704 Fed. App’x 71 (3d Cir. 2017); Matson-Forester
v. Allstate Ins. Co., 2014 WL 580267, at *3 (M.D. Pa. Feb. 12, 2014) (J. Kane);
Barnes v. Commonwealth Dep’t of Corr., 706 F. Supp. 2d 593, 612-13 (M.D. Pa.
2010) (J. Caputo).

                                            -4-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 12 of 30




or unsupported entries, or portions thereof.” Id.; see also BlackBerry, 2022 WL

19792, at *8 (same).

         “Even when the [Rule 56.1 statement] is ‘redundant, immaterial, impertinent, or

scandalous, a motion to strike should not be granted unless the presence of the

surplusage will prejudice the adverse party.’” Reid, 2016 WL 3345521, at *6.

Walgreens makes no assertion of prejudice here – the word “prejudice” never once

appears in its brief. Walgreens’ MTS should be denied for this reason alone. 3

IV.      PLAINTIFFS’ RULE 56.1 RESPONSE IS PROPER
         Plaintiffs’ responsive statement complied with the text of Local Rule 56.1. It

referenced “the parts of the record that support the statements” and responded to the

corresponding numbered paragraphs “as to which [Plaintiffs’] contended that there

exists a genuine issue to be tried.” LR 56.1.

         Walgreens cannot dispute that, so it is left only with the argument that

Plaintiffs’ response was not “short and concise.” MTS at 2-4. The Court has rejected

such arguments in a complex case. “While we agree that [the] statement of facts was

lengthy compared to that of a normal case, given the thousands of pages of exhibits in

this case it was entirely appropriate, necessary, and helpful.” Diamond Triumph Auto

3
   The Court in Reid also distinguished Park v. Veasie, 2011 WL 1831708 (M.D. Pa.
May 11, 2011), which Walgreens relies upon in the MTS. “In contrast [to Park],
Plaintiff’s Counterstatement here, though lengthy, is not muddled with inflammatory
phrases such as ‘outrageous acts’ or ‘wild, imaginary, and wholly unsubstantiated
concerns.’” Reid, 2016 WL 3345521, at *7.

                                           -5-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 13 of 30




Glass, Inc. v. Safelite Glass Corp., 441 F. Supp. 2d 695, 717 n.14 (M.D. Pa. 2006)

(J. Munley).

         Moreover, responsive statements of fact are not limited solely to admissions,

denials, and nothing else. In Alcantara, the defendant argued that “some of Plaintiff’s

responses to its Statement of Material Facts do not contradict the statements and

therefore its statements must be deemed admitted under Local Rule 56.1.” Alcantara

v. Aerotek, Inc., 2018 WL 3007528, at *1 n.4 (M.D. Pa. June 15, 2018) (J. Brann),

aff’d, 765 F. App’x 692 (3d Cir. 2019). The Court ruled: “I disagree. Local Rule 56.1

only requires that the nonmoving party ‘respond[]’ to the statements, not contradict

them.” Id.

         A.      Walgreens’ State of Mind Facts: Plaintiffs Properly
                 Responded with Contradicting Contemporaneous Evidence
         Walgreens argues that Plaintiffs’ citations (including direct quotes from

regulators, outside counsel, financial advisors, and corporate insiders) should be

stricken because such evidence is, purportedly, “wholly non-responsive” to

Walgreens’ otherwise self-serving, uncorroborated state of mind deposition testimony.

MTS, passim. Walgreens is wrong.

                 1.   Summary of Walgreens’ State of Mind Facts and
                      Plaintiffs’ Responses
         The principle fact in dispute is Fact No. 34. Walgreens states in full:



                                            -6-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 14 of 30




                                                                .




                                       -7-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 15 of 30




         •       Walgreens’ antitrust counsel, Weil, admits that “[i]t became very clear at

                 the very beginning that the FTC was generally opposed to any

                 transaction between Walgreens and Rite Aid,” P56.1 Opp., ¶34;

         •       Walgreens executives wrote in emails regarding the FTC review,




         •



         •



         •



         •




                                             -8-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 16 of 30




         •




         •



         •




                 2.   The Third Circuit’s Ruling in Infinity Group Supports
                      Plaintiffs’ Responses
         In Infinity Group Co., 212 F.3d 180, the Third Circuit affirmed the district

court’s judgment against the defendants in a §10(b) case. The defendants, like

Walgreens here, argued that they too could not be held liable where “‘they believed

their representations . . . to be true.’” Id. at 193. The Third Circuit rejected that

argument in two principal ways.

         First, the Third Circuit held that even if it “assume[d] arguendo that

[defendants] believed in these guarantees, we nevertheless must examine the


                                         -9-
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 17 of 30




foundation such a belief would have rested upon. A good faith belief is not a ‘get out

of jail free card.’ It will not insulate the defendants from liability if it is the result of

reckless conduct.” Id. (citing McLean v. Alexander, 599 F.2d 1190 (3d Cir. 1979)).

The court affirmed the district court’s analysis of contemporaneous evidence

indicating that even a “complete neophyte in finance” would have realized that the

“business was on the wrong track.” Id. Here too,




         Second, the Third Circuit affirmed the district court’s use of contemporaneous

evidence to reject the defendants’ purported good faith belief. Id. at 193-94. The

Third Circuit “stressed that . . . ‘circumstantial evidence may often be the principal, if

not only, means of proving bad faith.’” Id. at 194; see also McLean, 599 F.2d at 1198

(“We stress that to prove scienter the plaintiff need not produce direct evidence of the

defendant’s state of mind.”). The Third Circuit again emphasized the need to examine

the “evidence supporting,” or contradicting, the purported belief. Infinity Group, 212

F.3d at 194; accord SEB Inv. Mgmt. AB v. Endo Int’l, PLC, 351 F. Supp. 3d 874, 897

(E.D. Pa. 2018) (“An opinion about data cannot be considered reasonably held if it is

not supported by the evidence or ignores contradictory results in the same data.”).



                                           - 10 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 18 of 30




                 3.   Evaluating a Purported State of Mind Requires
                      Evaluating Contemporaneous Documents
         The Third Circuit also holds that “evaluating state of mind often requires the

drawing of inferences from the conduct of parties about which reasonable persons

might differ.” Justofin v. Metro. Life Ins. Co., 372 F.3d 517, 524 (3d Cir. 2004); see

also Butters v. SWN Prod. Co., LLC, 2020 WL 1503657, at *10 (M.D. Pa. Mar. 30,

2020) (J. Conner) (“Bad faith is routinely treated as a context-specific issue for the

fact-finder.”).

         Likewise, when reversing the district court’s grant of summary judgment for a

defendant on a securities claim, the Third Circuit has held: “Based upon all the

information available to [defendant] at the time it entered into the Agreement, we

conclude that there is an issue of fact as to whether [defendant] was reckless in its

belief . . . . This issue must be resolved by the trier of fact . . . .” Berckeley Inv. Grp.,

Ltd. v. Colkitt, 455 F.3d 195, 221 (3d Cir. 2006).

                 4.   Assessing Witness Credibility Requires Resorting to
                      Contemporaneous Documents
         The Third Circuit has also made clear: “When a witness’s credibility is critical

to supporting the necessary findings of fact, the district court must consider whether

there are sufficient grounds for impeachment that would place the facts to which he

testifies in legitimate dispute.” El v. SEPTA, 479 F.3d 232, 237 (3d Cir. 2007);

Muldowney v. K-Mart Corp., 2013 WL 6061563, at *11 (M.D. Pa. Nov. 18, 2013) (J.

                                           - 11 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 19 of 30




Conner, MJ. Mehalchick) (same quote, denying, in part, motion for summary

judgment where “the testimonial evidence submitted by Defendants is insufficient to

establish the absence of a genuine dispute of material fact”).

         In other words, “[s]ummary judgment is not appropriate . . . where the movant’s

self-serving averments cannot be reconciled with the non-movant’s conflicting

evidence.” Karpf v. Mass. Mut. Life Ins. Co., 2018 WL 1142189, at *10 (E.D. Pa.

Mar. 1, 2018). Such “conflicting evidence” can take the form of emails, such as those

relied upon by Plaintiffs in their Rule 56.1 statements here, undermining the movant’s

deposition testimony. Id. at *8 (“These assertions, in addition to being self-serving,

are inconsistent with other [email] evidence in the record.”).

                 5.   This Court Has Ruled that Contemporaneous
                      Documents Are Relevant to State of Mind
         The Court’s previous motion to quash ruling also supports Plaintiffs’ responses.

Walgreens previously argued that contemporaneous documents never received by

Walgreens executives were irrelevant because they could not “potentially have

influenced the speaker’s state of mind and beliefs . . . .” See Chabot v. Walgreens

Boots All., Inc., 2021 WL 767516, at *3 (M.D. Pa. Feb. 26, 2021). The Court soundly

rejected that argument: “The truths and perceptions of the FTC review of the

proposed transactions are integral to this matter. Any piece of information which

addresses the review, including what was known or believed by Weil, Walgreens, or


                                          - 12 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 20 of 30




any other party to the proposed transactions, could shed light on what Defendants

knew or believed.” Id.

                 6.   Additional Authority in Securities Cases Further
                      Supports Plaintiffs’ Responses
         In BlackBerry, the court rejected arguments virtually identical to Walgreens’

arguments here:

         Plaintiffs point out that the “vast majority of Defendants’ ‘objections’ “in
         their motion to strike “ask the Court to call balls and strikes on the
         credibility or persuasiveness of each party’s evidence.” As they correctly
         point out, “This a job for the jury at trial, not the Court on summary
         judgment, much less a motion to strike.” . . . Insofar as Defendants’
         motion to strike seeks to challenge the sufficiency or credibility of the
         evidence and factual assertions to which Plaintiffs cite, a trial, not a
         motion to strike, is the proper vehicle for resolving those disputes.
BlackBerry, 2022 WL 19792, at *8. The BlackBerry court went on to find triable

issues of fact under Omnicare. Id. at *9.

         Also on point is SEC v. Berrettini, 2012 WL 5557993, at *1 n.1 (N.D. Ill. Nov.

15, 2012). There, the defendant in a §10(b) case also moved to strike the plaintiffs’

Local Rule 56.1 response, arguing that it was “evasive and non-responsive” because it

responded to statements of belief with contemporaneous evidence. Id. For example,

the defendant there asserted that certain information was “‘known by everybody on

the mergers and acquisitions team.’” Id.4 The court noted, “[t]he [plaintiff] disputes


4
   Compare with P56.1 Opp., ¶41 (“Other WBA executives also testified that they
believed the Merger would close.”).

                                            - 13 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 21 of 30




that, and its response provides citations to the record to explain why . . . .” Id. The

court concluded that the plaintiffs’ response appropriately “provided many helpful and

precise citations to the record.” Id. So too here.

                 7.   Non-Movants Are Permitted to Dispute “Outcome
                      Determinative” Facts
         “Genuine issues of material fact refer to any reasonable disagreement over an

outcome determinative fact.” In re Energy Future Holdings Corp., 990 F.3d 728, 737

(3d Cir. 2021).



                            MTS at 14 (citing Omnicare, Inc. v. Laborers Dist. Council

Constr. Indus. Pension Fund, 575 U.S. 175 (2015)); P56.1 Opp., ¶¶34-35, 37-41, 43.

Not so. Where a fact is purportedly “outcome determinative,” id., Plaintiffs must

properly respond with contradicting evidence, not simply ignore it (as Walgreens

would have it). That is what Plaintiffs have done.

         B.      Walgreens’ Facts with Credibility Problems: Plaintiffs
                 Properly Responded With Evidence




                                     MTS at 11-13. Walgreens contends that it is

improper to contest the credibility of the source of a fact in order to dispute that fact.

Id. Walgreens, again, is wrong.

                                          - 14 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 22 of 30




         “Questions about credibility, gaps in the evidence, and doubts as to the

sufficiency of the movant’s proof, will defeat a motion for summary judgment.” El,

479 F.3d at 238 (cleaned up); Muldowney, 2013 WL 6061563, at *11 (same quote).

Accordingly, a genuine issue of material fact exists where “the credibility of [the

movant’s] witnesses on [a] critical point remains subject to legitimate impeachment

. . . .” Universal Underwriters Ins. Co. v. Dedicated Logistics, Inc., 2014 WL

12600172, at *3 (W.D. Pa. June 4, 2014). The case law is clear:

               [I]f the credibility of the movant’s witness is challenged by the
         opposing party and specific bases for possible impeachment are shown,
         summary judgment should be denied; however, there must be more than
         mere allegations in a memorandum of law to place credibility in issue
         and preclude summary judgment. Specific facts must be produced.
NTP Marble, Inc. v. AAA Hellenic Marble, Inc., 2012 WL 607975, at *4 (E.D. Pa.

Feb. 27, 2012). Here, Plaintiffs did just that.




                                                               Plaintiffs also included

that Weil’s own website currently admits that:

         “‘It became very clear at the very beginning that the FTC was generally
         opposed to any transaction between Walgreens and Rite Aid . . . . [T]he
         client considered it an incredible coup that we got essentially 1,900

                                         - 15 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 23 of 30




         stores from Rite Aid when no one ever thought that was going to be the
         case.’”

Id. (quoting PX 141 (Dep. Ex. 420) at 1).




                                  Walgreens’ factual quarrel with its own attorneys’

admission is not a ground to strike Plaintiffs’ evidence. Rather, it brightly illuminates

an issue for trial.




5
    See, e.g., United States v. Cook, 2018 WL 6499872, at *8 (D. Del. Dec. 11, 2018)
(“‘ample authority [exists] for the proposition that an attorney’s [extra-judicial]
statements may bind the party whom the attorney represents’ either ‘under Federal
Rule of Evidence 801(d)(2)(C) or (D)’”), aff’d, 820 F. App'x 110, 114-15 (3d Cir.
2020).

                                         - 16 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 24 of 30




         C.      Walgreens’ “Warning” Facts: Plaintiffs Properly Provided
                 Crucial Context
         Walgreens further requests that the Court strike Plaintiffs’ responses to a

number of facts describing Walgreens’ and Rite Aid’s purported cautionary language.

P56.1 Opp., ¶¶8-9, 11-13, 88-89, 106-107, 112, 115-116, 129, 139, 156, 181-182, 197.



                        But, here too, the underlying facts and surrounding context are

crucial. See, e.g., In re Innocoll Holdings Pub. Ltd. Co. Sec. Litig., 2020 WL

1479128, at *17 (E.D. Pa. Mar. 25, 2020) (“courts have rejected the alleged

significance of boilerplate warnings true to every company that interacts with the

FDA”).




                                         - 17 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 25 of 30




         D.       Walgreens’ Facts About the Statements at Issue and Loss
                  Causation: Plaintiffs Properly Provided Important Detail
         Walgreens asks the Court to strike Plaintiffs’ responses to Walgreens’ facts

quoting the allegedly misleading statements at issue. See MTS at 14-15; P56.1 Opp.,

¶¶114, 127-128, 157, 198.




                                             The media reports are plainly at issue in this

case. See Shenwick v. Twitter, Inc., 282 F. Supp. 3d 1115, 1139 (N.D. Cal. 2017)

(analyst and media reports show how “investors interpreted Defendants’ statements”).

         Plaintiffs also introduced evidence of loss causation in response to related facts.

P56.1 Opp., ¶¶26-28, 177, 221-228. This too, is proper. See, e.g., Glodek, 2009 WL

2778286, at *1 n.1.

         E.       Walgreens’ Facts Submitted in Violation of the Court’s
                  Order: Plaintiffs Properly Objected




                 See MTS at 15-16; P56.1 Opp., ¶¶32, 143; ECF No. 193 at 16-17; ECF No.

194 (Order). Walgreens cites no authority for its position. This Court, however, has

specifically ruled that objections are proper in a Rule 56.1 response. See Fischer v.

Pennsylvania State Police, 2009 WL 650251, at *9 n.2 (M.D. Pa. Mar. 10, 2009)

                                            - 18 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 26 of 30




(J. Jones) (“meritorious evidentiary objection to the putative undisputed fact”

sufficient to rebut a fact).6

         F.      Walgreens’ Facts Referenced in a Footnote of the MTS:
                 Plaintiffs Properly Responded




V.       THE COURT MAY CONSIDER PLAINTIFFS’ ADDITIONAL
         STATEMENT OF FACTS



                                           Plaintiffs’ additional statement of material

facts – which provides organized, clear, direct, and pinpointed quotes and cites to the

record – should assist the Court in quickly and easily locating the evidence cited in

Plaintiffs’ opposition brief.

         There is no doubt that a split of authority exists in this Court regarding the

propriety of a non-movant’s assertion of additional facts. Compare ECF No. 242-3 at


6




                                         - 19 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 27 of 30




1-2 (collecting cases) with MTS at 4-5 (collecting cases). Judge Jones’ ruling in

Dolan is instructive: “Defendant seems to insinuate that Plaintiff’s filing of an

additional counterstatement of fact is violative of Rule 56.1 . . . . This position is

simply incorrect.” Dolan v. Cmty. Med. Ctr. Healthcare Sys., 2008 WL 11499207, at

*3 (M.D. Pa. Dec. 29, 2008). Judge Jones continued: “Consider, if in responding to

the statement of facts proffered by the movant the respondent could not identify any

facts except those contained in that statement, the movant could effectively prevent

the respondent from challenging the movant’s motion with facts damaging to the

movant. This would be patently unfair and prejudicial.” Id.

         When submitting the additional statement, Plaintiffs described the purpose

behind that filing as follows:

                While Plaintiffs have concurrently responded in full to each item
         in the voluminous Defendants’ Statement of Undisputed Facts, one-by-
         one, as called for under Local Rule 56.1, Plaintiffs submit this additional
         statement so that the Court may access a cleaner chronological summary
         of Plaintiffs’ evidence, organized by subject matter. Given the sheer
         number of disputed facts at issue, Plaintiffs believe that the specific
         paragraph citations here should assist the Court in quickly and easily
         identifying particular facts and evidence cited in Plaintiffs’
         accompanying opposition brief.
ECF No. 242-3 at 1. Here,



                 Given that reality, Plaintiffs believe that pinpoint citations to the facts cited

in its opposition helps mitigate the “truffle hunt” the judiciary seeks to avoid. Cf.

                                                - 20 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 28 of 30




Doeblers’ Pa. Hybrids, Inc. v. Doebler, 442 F.3d 812, 820 n.8 (3d Cir. 2006).

Plaintiffs, however, ultimately defer to the Court’s discretion on this issue.

VI.      THE COURT SHOULD NOT PROVIDE WALGREENS WITH
         ANOTHER SUR-REPLY
         Walgreens’ MTS also requests various sur-replies to Plaintiffs’ statements of

fact. MTS at 9, 19. Cf. ECF No. 258 at 1-2 (Walgreens explaining to the Court that

“[a] sur-reply is appropriate only when the non-movant has been denied a fair

opportunity to respond,” which requires an “extraordinary need”). Walgreens has

already had more than ample opportunity to respond to Plaintiffs’ factual submissions,

including in the 15,000 word reply brief that Walgreens requested on March 16, 2022,

two days after receiving Plaintiffs’ Rule 56.1 responses it now seeks to strike. ECF

No. 255, ¶¶4-6. Walgreens also mounted substantive responses to many of those facts

in the MTS itself. MTS at 10-19.

         The parties have submitted a more-than-fulsome record on summary judgment,

and it need not be supplemented with additional factual responses. The recent

decision in BlackBerry is again on point: “If Defendants wish to contest the evidence

– which admittedly by their motion [to strike] they seem to wish to do – they may do

that at trial.” BlackBerry, 2022 WL 19792, at *8.

VII. CONCLUSION
         For the reasons stated herein, the Court should deny Walgreens’ motion to

strike, Walgreens’ requests for sur-replies, and Walgreens’ request for nearly all of its
                                         - 21 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 29 of 30




purportedly undisputed facts to be deemed admitted as a matter of law. At bottom,

Walgreens articulates no “prejudice” that could possibly support such a “drastic

remedy.” Reid, 2016 WL 3345521, at *6.

DATED: April 18, 2022               Respectfully submitted,

                                    ROBBINS GELLER RUDMAN
                                     & DOWD LLP
                                    RANDALL J. BARON
                                    DAVID T. WISSBROECKER
                                    A. RICK ATWOOD, JR.
                                    DAVID A. KNOTTS



                                                DAVID A. KNOTTS

                                    655 West Broadway, Suite 1900
                                    San Diego, CA 92101
                                    Telephone: 619/231-1058
                                    619/231-7423 (fax)
                                    Lead Counsel for Plaintiffs
                                    SAXTON & STUMP LLC
                                    LAWRENCE F. STENGEL
                                    280 Granite Run Drive, Suite 300
                                    Lancaster, PA 17601
                                    Telephone: 717/556-1000
                                    lfs@saxtonstump.com
                                    Local Counsel




                                      - 22 -
4869-6787-7404
         Case 1:18-cv-02118-JPW Document 278 Filed 04/18/22 Page 30 of 30




                          DECLARATION OF SERVICE BY EMAIL

       I, Jaime McDade, not a party to the within action, hereby declare that on April 18, 2022, I
served the attached PLAINTIFFS’ BRIEF IN OPPOSITION TO DEFENDANTS’
MOTION TO STRIKE, on the parties in the within action by email addressed as follows:
Jonathan D. Polkes                               Thomas G. Collins
Caroline Hickey Zalka                            BUCHANAN INGERSOLL & ROONEY PC
Chelsea Silverstein                              409 North Second Street, Suite 500
Justin D’Aloia                                   Harrisburg, PA 17101
WEIL, GOTSHAL & MANGES LLP                       T: 717/237-4843
767 Fifth Avenue                                 717/233-0852 (fax)
New York, NY 10153                               Thomas.collins@bipc.com
T: 212/310-8000
212/310-8007 (fax)
Jonathan.polkes@weil.com                         Local Counsel for Defendants
Caroline.zalka@weil.com
Weil.walgreens.team@weil.com
Chelsea.silverstein@weil.com
Justin.daloia@weil.com

Attorneys for Defendants
Lawrence F. Stengel                              Randall J. Baron
C. Andrea Gadd                                   David T. Wissbroecker
Carson B. Morris                                 David A. Knotts
SAXTON & STUMP LLC                               ROBBINS GELLER RUDMAN & DOWD LLP
280 Granite Run Drive, Suite 300                 655 West Broadway, Suite 1900
Lancaster, PA 17601                              San Diego, CA 92101
Telephone: 717/556-1000                          T: 619/231-1058
lfs@saxtonstump.com                              619/231-7423 (fax)
cag@saxtonstump.com                              randyb@rgrdlaw.com
CBM@saxtonstump.com                              dwissbroecker@rgrdlaw.com
                                                 dknotts@rgrdlaw.com
Local Counsel for Plaintiffs
                                                 Attorneys for Plaintiffs
         I declare under penalty of perjury that the foregoing is true and correct. Executed on 18th

day of April, 2022, at San Diego, California.




                                                              JAIME McDADE


                                                - 23 -
4869-6787-7404
